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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., et al.,                            )
                                                      )
         Plaintiffs,                                  )
                                                      )
                 vs.                                  )   Case No. 1:21-cv-02131-CJN
                                                      )
PATRICK BYRNE,                                        )
                                                      )
         Defendant.                                   )
                                                      )

                                              ORDER

        Plaintiffs US Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting

Systems Corporation (together, “Dominion”) brought this tort action for defamation per se

against Defendant Patrick Byrne (“Byrne”). Pending before the Court is Byrne’s Motion to

Dismiss the Complaint for failure to state a claim under Federal Rule of Civil Procedure

12(b)(6). (Doc. 25.) Upon consideration of the pleadings, briefing, and relevant law, and for the

reasons stated in the Memorandum Opinion (Doc. ___) accompanying this Order, Byrne’s

Motion to Dismiss is GRANTED and Dominion’s action is hereby DISMISSED with

prejudice.

        The case is now closed. The clerk is kindly directed to place this matter among the ended

matters, and to file a copy of this Order electronically to notify all counsel of record.

        It is SO ORDERED.

Date:
                                               CARL J. NICHOLS
                                               United States District Judge


Copies to:

All counsel of record
